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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 MICHAEL STEVENS, on behalf of himself
 and all others similarly situated,
                                                Case No.: 1:19-cv-00207-LPS

                 Plaintiff,

         vs.

 LOXO ONCOLOGY, INC., JOSHUA H.
 BILENKER, STEVE ELMS, KEITH T.
 FLAHERTY, AVI Z. NAIDER, LORI A.
 KUNKEL, ALAN FUHRMAN, TIM
 MAYLEBEN, and STEVE D. HARR,


                 Defendants.


                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

        PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff Michael Stevens (“Plaintiff”) hereby voluntarily dismisses the above-captioned action

(the “Action”) with prejudice as to Plaintiff only and without prejudice as to all others similarly

situated. Defendants have filed neither an answer nor a motion for summary judgment in the

Action, and no class has been certified. Plaintiff’s dismissal of the Action is therefore effective

upon the filing of this notice.

Dated: February 12, 2019

                                                  Respectfully submitted,

                                                  FARUQI & FARUQI, LLP

                                                  /s/ Michael Van Gorder
 OF COUNSEL:                                      Michael Van Gorder (#6214)
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